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 8
                                 IN THE UNITED STATES DISTRICT COURT
 9
                                    EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,                           CASE NO. 2:13-CR-00354-MCE
12                                Plaintiff,             STIPULATION REGARDING EXCLUDABLE
                                                         TIME PERIODS UNDER SPEEDY TRIAL ACT;
13                          v.                           ORDER
14   FARAH SARWAR ET AL.,                                DATE: July 30, 2015
                                                         TIME: 9:00 a.m.
15                                Defendants.            COURT: Hon. Morrison C. England, Jr.
16
17                                               STIPULATION

18         1.       By previous order, this matter was set for status on July 30, 2015.

19         2.       By this stipulation, defendants now move to continue the status conference until

20 September 10, 2015, and to exclude time between July 30, 2015, and September 10, 2015, under Local
21 Code T4.
22         3.       The parties agree and stipulate, and request that the Court find the following:

23                  a)     The government has represented that the discovery associated with this case

24         includes approximately 288 pages of documents, Bates numbered 1-228, plus audio and video

25         recordings, Bates numbered 229-14878. All of this discovery has been either produced directly

26         to counsel and/or made available for inspection and copying.

27                  b)     Counsel for defendants desire additional time to review discovery in this case,

28         consult with their clients to review the current charges and evaluate the discovery in light of

      STIPULATION RE: SPEEDY TRIAL ACT; ORDER            1
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 1        those charges, to conduct investigation and research related to the charges, to discuss potential

 2        resolutions with their clients, to evaluate the need for pretrial motions, and to otherwise prepare

 3        for trial.

 4                 c)     Counsel for defendants believe that failure to grant the above-requested

 5        continuance would deny counsel the reasonable time necessary for effective preparation, taking

 6        into account the exercise of due diligence.

 7                 d)     The government does not object to the continuance.

 8                 e)     Based on the above-stated findings, the ends of justice served by continuing the

 9        case as requested outweigh the interest of the public and the defendant in a trial within the

10        original date prescribed by the Speedy Trial Act.

11                 f)     For the purpose of computing time under the Speedy Trial Act, 18 U.S.C. § 3161,

12        et seq., within which trial must commence, the time period of July 30, 2015 to September 10,

13        2015, inclusive, is deemed excludable pursuant to 18 U.S.C.§ 3161(h)(7)(A), B(iv) [Local Code

14        T4] because it results from a continuance granted by the Court at defendants’ request on the basis

15        of the Court’s finding that the ends of justice served by taking such action outweigh the best

16        interest of the public and the defendant in a speedy trial.

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 1          4.       Nothing in this stipulation and order shall preclude a finding that other provisions of the

 2 Speedy Trial Act dictate that additional time periods are excludable from the period within which a trial
 3 must commence.
 4          IT IS SO STIPULATED.

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     Dated: July 28, 2015                                      BENJAMIN B. WAGNER
 6                                                             United States Attorney
 7
                                                               /s/ CHRISTIAAN H.
 8                                                             HIGHSMITH
                                                               CHRISTIAAN H. HIGHSMITH
 9                                                             Assistant United States Attorney
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11
     Dated: July 28, 2015                                      /s/ CHRIS HAYDN-MYER
12                                                             CHRIS HAYDN-MYER
13                                                             Counsel for Defendant
                                                               Farah Sarwar
14
15 Dated: July 28, 2015                                        /s/ MICHAEL HANSEN
                                                               MICHAEL HANSEN
16                                                             Counsel for Defendant
                                                               Hussain Shahzad
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                                                       ORDER
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            IT IS SO ORDERED.
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     Dated: July 29, 2015
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      STIPULATION RE: SPEEDY TRIAL ACT; ORDER              3
